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                       Trump inauguration protest damages
                       parts of downtown Washington
                       U P DAT E D O N : JA N UA R Y 2 1 , 2 0 1 7 / 1 : 5 3 A M / C B S / A P




                                                                                     Inauguration protesters
                                                                                                              02:46



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                       WASHINGTON -- Protesters registered their rage against the new president Friday in a chaotic confrontation
                       with police who used pepper spray and stun grenades in a melee just blocks from Donald Trump’s inaugural
                       parade route. Scores were arrested for trashing property and attacking officers.

                       Officers arrested 217 protesters, CBS affiliate WUSA reports. Six police officers were hurt during the protests,
                       including three who were hit in the head with flying objects. All of them have minor injuries.




                                                                                             Trump protesters
                                                                                                              02:04




                       The bulk of the criminal acts happened at 10:30 a.m. when 400 to 500 people on 13th Street destroyed
                       property, Interim Police Chief Peter Newsham said. The protesters were armed with crowbars and threw objects
                       at people and businesses, destroying storefronts and damaging vehicles. Police used pepper spray to diffuse the
                       situation.



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                       There were protests in other cities, including Portland, where protesters and police clashed and police used
                       flashbangs and tear gas, CBS affiliate KOIN reports.

                       The planned protest began peacefully Friday afternoon, but the tone of the event changed when police said
                       protesters began throwing “rocks, bottles, flares and unknown liquids” at officers who blocked them from
                       walking onto local bridges.

                       In New Orleans, 15 people were arrested and two officers were injured as a band of protesters going through the
                       French Quarter and Central Business District spray-painted graffiti, damaged police vehicles and smashed out
                       windows as businesses, NOPD Chief Michael Harrison said Friday night, CBS affiliate WWL reports.




                       2017 Presidential Inauguration                                    More




                       Ben Stein on the greatness of                Turning the page: Donald Trump’s              Massive march turnout prompts                      Clinton, Democrats show support
                       America                                      first day in office                           change of plans in Chicago                         for Women's March on
                                                                                                                                                                     Washington




                       A video on social media shows District of Columbia police pepper-spraying a group of protesters - including an
                       elderly woman and a man on crutches, as well as those trying to help them to move out of the way.

                       A spokesman for the Metropolitan Police Department declined to immediately provide comment. It was unclear
                       what happened just before the video began.

                       The video shows a woman screaming “my child” as she runs with her crying son in her arms. Others are
                       hunched over or coughing as plumes of pink spray waft over hundreds of people in the street. Toward the end of
                       the video, protesters appear to be breaking up cement blocks and some people are seen throwing objects toward
                       police.

                       Several spirited demonstrations unfolded peacefully at various security checkpoints near the Capitol as police
                       helped ticket-holders get through to the inaugural ceremony. Signs read, “Resist Trump Climate Justice Now,”
                       ‘’Let Freedom Ring,” ‘’Free Palestine.”




                                                                                           Inaguration Protest
                                                                                                               01:06




                       But about a mile from the National Mall, police gave chase to a group of about 100 protesters who smashed the
                       windows of downtown businesses including a Starbucks, a Bank of America, a Wells Fargo and a McDonald’s as
                       they denounced capitalism and Mr. Trump. Police in riot gear used pepper spray from large canisters and
                       eventually cordoned off protesters at 12th and L streets in northwest Washington.




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                       The confrontation began an hour before Mr. Trump took the oath of office and escalated several hours later as
                       the crowd of protesters swelled to more than 1,000, some wearing gas masks and with arms chained together
                       inside PVC pipe. One said the demonstrators were “bringing in the cavalry.”

                       When some crossed police lines, taunting, “Put the pigs in the ground,” police charged with batons and pepper
                       spray, as well as stun grenades, which are used to shock and disperse crowds. Loud booms echoed through the
                       streets about six blocks from where Mr. Trump would hold his inaugural parade.




                                                                               Trump inauguration protests
                                                                                                         56 PHOTOS




                       Some protesters picked up bricks and concrete from the sidewalk and hurled them at police lines. Some rolled
                       large, metal trash cans at police.

                       At 13th and K streets, police moved in on a crowd after a limo was set on fire, CBS News homeland security
                       correspondent Jeff Pegues reports. The fire department responded to the blaze and put it out.

                       Pegues didn’t see anyone injured at the scene. After the police moved in, some in the crowd removed bricks
                       from the ground and threw them at officers, Pegues reports.




                                                                               Trump inauguration protests
                                                                                                         56 PHOTOS




                       According to a police spokesman, around 95 people had been arrested by 2 p.m., CBS News senior investigative
                       producer Pat Milton reports. The charges include rioting and vandalism.

                       Two officers were taken to a hospital with minor injuries, Milton reports.

                       Police said in a statement that the group damaged vehicles, destroyed property and set small fires while armed
                       with crowbars and hammers. Peter Newsham, the interim police chief of the Metropolitan Police Department,
                       said the group caused “significant damage” along a number of blocks.




                       Before Inauguration Day, the DisruptJ20 coalition, named after the date of the inauguration, had promised that
                       people participating in its actions in Washington would attempt to shut down the celebrations, risking arrest
                       when necessary.

                       Earlier in the day, as guests were going in to the ceremony, lines for ticket-holders entering two gates stretched
                       for blocks at one point as protesters clogged entrances.

                       Trump supporter Brett Ecker said the protesters were frustrating but weren’t going to put a damper on his day.

                       “They’re just here to stir up trouble,” said the 36-year-old public school teacher. “It upsets me a little bit that
                       people choose to do this, but yet again, it’s one of the things I love about this country.”




                                                                               Trump inauguration protests
                                                                                                         56 PHOTOS




                       At one checkpoint, protesters wore orange jumpsuits with black hoods over their faces to represent prisoners in
                       U.S. detention at Guantanamo Bay. Eleanor Goldfield, who helped organize the Disrupt J20 protest, said
                       protesters wanted to show Mr. Trump and his “misguided, misinformed or just plain dangerous” supporters that
                       they won’t be silent.

                       Black Lives Matter and feminist groups also made their voices heard.


                       Most Trump supporters walking to the inauguration past Union Station ignored protesters outside the train
                       station, but not Doug Rahm, who engaged in a lengthy and sometimes profane yelling match with them. “Get a
                       job,” said Rahm, a Bikers for Trump member from Philadelphia. “Stop crying, snowflakes, Trump won.”




                       Outside the International Spy Museum, protesters in Russian hats ridiculed Mr. Trump’s praise of President
                       Vladimir Putin, marching with signs calling Mr. Trump “Putin’s Puppet” and “Kremlin employee of the month.”

                       Demonstrations in Washington were not the only ones Friday. In San Francisco, thousands of demonstrators
                       formed a human chain on the Golden Gate Bridge and chanted “Love Trumps hate.” In the city’s financial
                       district, a few hundred protesters blocked traffic outside an office building partly owned by Mr. Trump.

                       In Atlanta, protests converged at City Hall and a few hundred people chanted and waved signs protesting Mr.
                       Trump, denouncing racism and police brutality and expressing support for immigrants, Muslims and the Black
                       Lives Matter movement.

                       In New York, Democratic Councilman Jumaane Williams and other protesters were arrested outside Trump
                       Tower in Manhattan after sitting on Fifth Avenue. Other demonstrators chanted loudly but the event remained
                       peaceful.

                       And in Nashville, half a dozen protesters chained themselves to the doors of the Tennessee Capitol. Hundreds
                       also sat in a 10-minute silent protest at a park while Mr. Trump took the oath of office. Organizers led a prayer,
                       sang patriotic songs and read the Declaration of Independence aloud.




                                                                               Trump inauguration protests
                                                                                                         56 PHOTOS




                       In Washington, the “Festival of Resistance” march ran about 1.5 miles to McPherson Square, a park about three
                       blocks from the White House, where a rally featured the filmmaker and liberal activist Michael Moore.

                       “We have to perform an intervention,” Moore said, according to CBS affiliate WUSA-TV. “It helps us that he has
                       such a thin skin. He can’t stand the fact that people don’t like him. He wants to be loved.”

                       Friday’s protests weren’t the first of the inauguration. On Thursday night, protesters and Trump supporters
                       clashed outside a pro-Trump event in Washington. Police used chemical spray on some protesters in an effort to
                       control the unruly crowd.

                       The demonstrations won’t end when Mr. Trump takes up residence in the White House. A massive Women’s
                       March on Washington is planned for Saturday. Christopher Geldart, the District of Columbia’s homeland security
                       director, has said 1,800 buses have registered to park in the city Saturday, which could mean nearly 100,000
                       people coming in just by bus.




                                                                              Inauguration of Donald Trump
                                                                                                         90 PHOTOS




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